         Case 2:24-cv-09863-CAS-JPR                   Document 9      Filed 11/15/24      Page 1 of 2 Page ID
                                                            #:92
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                CENTRAL DISTRICT OF CALIFORNIA


                                                              )
CRYE PRECISION LLC, a New York Limited                        )
Liability Company, and LINEWEIGHT LLC, a New                  )
York Limited Liability Company,                               )
                            Plaintiff(s)
                                                              )
                                                              )
                          v.                                          Civil Action No. 2:24-cv-9863
                                                              )
AIRSOFT WHOLESALER, INC. d/b/a LANCER
                                                              )
TACTICAL, a California Corporation, CHANGQING
                                                              )
CHEN, an individual, CHANGYING CHEN, an
                                                              )
individual, AIRSOFTGI.COM, LLC, a California
                                                              )
Limited Liability Company, KTT International, Inc.
                                                              )
d/b/a Airsoft Megastore, a California Corporation,
MODERN AIRSOFT PACIFIC LLC, a California
Limited Liability Company,
                           Defendant(s)

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    AIRSOFTGI.COM, LLC
    21077 Commerce Pointe Drive
    Walnut, CA 91789



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
     GREENBERG TRAURIG, LLP
     Nina D. Boyajian (SBN 246415) BoyajianN@gtlaw.com
     1840 Century Park East, #1900 Los Angeles, CA 90067-2121
     Tel.: 310-586-7700


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
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                                                                 #:93
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Civil Action No. 2:24-cv-9863

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)

              I personally served the summons on the individual at (place)
                                                                                 on (date)                           ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                  , who is
          designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                           ; or

              I returned the summons unexecuted because                                                                         ; or

              Other (specify):




          My fees are $                           for travel and $                   for services, for a total of $ 0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc:
